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                                                                                                                             EXHIBIT KK CCI0009088
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      telediagnosis                                                                                   1952

  i-ng credit at a community college. [1945--50; TELE(v1- Te·le•mann (tafla miinl), n. Ge·org PhMlpp (ga oRkl                                      ?r happening by T?eans of a telep~one S.Yste
  s10N) + COURSE)                                                             fe'lip, fillip), 1681-1767, German composer.                         ing sound to a distance by artificial rn.e rn. ~. carr
tel•e•di•ag•no•sis (teJli dilag no'sis), n., pl. .,..,,. tel•<a•mark (tel'a mark'), n. (sometimes cap.) Skiing.                                    TELE-' + -PHONE + -IC) -tel'e· phon'I ·~~~;, [1s2s...a3;;~
  (-sez). the detection of a disease by evaluating data a turn in which a skier places one ski far forward of the                                te•leph•O•nist (ta lef'a nist, teJ!a fo' -) n            lf:
                                                                                                                                                                                                           ad"· ..'
  transmitted to a !'eceiving station from instruments other and gradually angles the tip of the forward ski in-                                   a telephone sy.-itchboard operator. (TELen~o~~tefly Brit,
  monitoring a distant patient, as someone in a spacecraft. ward in the direction to be turned. (1905-10; named                                  te•leph•O•nY (ta lefta ne), n. l . the                   + -!ST]
  [1960--65; TELE-' + DIAGNOSIS)                                              after Telemark, a Norwegian county}                                  operation of telephones or telephonic sys[onstruction 0
 tel•e•dra•ma (teVi driilma, -dramla), n. Television. a tel•e•mar•ket•lng (tel'6 mar'ki ting), n. selling or                                       tern o,f telecommlJ?ications in ;vhich te);rns ..2 . a sys~
  drama written esp. for broadcast on television. [1950--55; advertising by telephone.                           [TELE-' + MARKETING]              ment is employed _in the .tran_sm1ssion of stehohic equip~
  TELE(VISION) + DRAMA)                                                      -tel>'e•marlket•er, n.                                                sound between p01nts, w1th or without the ec or Othel:'
 tel•e•du (tel'i dOl)I), n. a small, dark-brown, badger- tel•e 0 me 0 chan°ics (tel/a mi kan'iks), n. (used with a                                 [1825-35; 1·ELEPHONE + -Y 3 ]                   Use Of Wires
  like mammal, Mydaus javensis, of the mountains of singular v.) the science or practice of operating mech-                                      tel•e•pho•to (tel'a fi)lto), adj. noting or               . .       .
  Java, Sumatra, and Borneo, having a white stripe down anisms by remote control. [T.ELE- 1 + MECHANICS]                                           telephotography. [1890--95; short for tezeJ~rta1n1ng to·
  the back, and ejecting a foul-smelling secretion when tel•e•mecM•cine                                (tel'a media sin or, esp. Brit.,            see TELEPHOTOGRAPH, -IC]                           otographic·
  alarmed. [1815-25; < Sumatran Malay t<Jladu (sp. te- -medlsin), n. the diagnosis and treatment of patients in                                  Tel•e•pho 0 to (tel'a f0 1 t5), Trademark 1                         '
   ledu)]                                                                     remote areas using medical information, as x-rays or tel-            apparatus for electrical transmission of Phoi a bra:nct of
 tel•e•fea•ture (tel'" felchar), n. Television. a major evision pictures, transmitted over long distances, esp. by                                 a photograph transmitted by this apparatu•.ographs. :2.
  dramatic television film, usually of a length comparable satellite. [1965-70; TELE-' + MEOICINE]                                               tel•e•pho•to•graph (tel'a fo'ta graft                ..
   to a theatrical feature film. [TELE(VlStON) + FEATURE]                                                                                          photograph taken with a telephoto l~n~graf['{ n. a
                                                                            te•iem•e•ter (ta lem'i tar, tel'a m<Vtar), n. l. any of
 tel•e•fer•ic (teJ!a fer'ik), n. Transp. telpher. Also, tel· certain devices or attachments for determining distances                              TELE- 1 + PHOTOGRAPH]                           .            8
                                                                                                                                                                                                             80-85;
  e·fe•rlque (tel'a fa rek'). [19.15-20; < F teleferique, by measuring the angle subtending a known distance. 2.                                 tel•e•pho•tog•ra•j)hY (teJ!a fo tog'ra fe) n
   tiilepherique or It teleferico.. both ult. < E TELPHER with Elect. the complete measuring, transmitting, and receiv-                            raphy of distant ob3ects, usmg a telephoto '1e · ph[ otog_
   restoration of Gk tele-; see -IC]                                         ing apparatus for indicating, recording, or integrating' at           85; TELE-' + PHOTOGRAPHY) -tel•B•PhO•t~~· 1880-
 tel•e•film (tel'a film'), n. a motion picture intended aquantity.              distance, by electrical translating means, the value of a
                                                                                           -v.t. 3. to transmit (radio signals, data, etc.)
                                                                                                                                                   (tella fiVta grafl1k), odJ.                           graph·lc
   primarily to be shown on television. [1935-40; TELE(Vl-                                                                                       teiP epho'to lens', Photog. a lens constru t
  StON) + FILM]                                                               automatically and at a distance, as between a ground
                                                                              station and an artificial satellite, space probe, or the like,       to produce a relatively large image wi t h a fo~ jd so as
 tel•e•fO•to (tel'a fo'to), adj. Informal. telephoto.                         esp. in order to record information, operate guidance ap-            shortel" than that required by an ordinary lens pa d1en~h
 teleg., l. telegram. 2 . telegraph. 3. telegraphy.                           paratus, etc. -v. i. 4. to telemeter radio signals, data,            an image of the same size: used to photogi-a h ro ucing
                                                                                    [1855-60; TELE-' + -METER] -tel•e•met•rlc (teJ!a-              distant objects. Also called tei'ephotograp~, 1 ~n;au or
 te•le•ga (ta leg'a; Russ. tyi lyelga), n. a Russian cart etc.                me'trik), adj. - telle•met'rl•caloly, adv. -te•lem•e•                teleobjectlve lens. [1940-45]                              '"'"'·
  of rude construction, having four wheels and no springs. try (ta lemli tre), n.
  [1550--60; < Russ telega, prob. ult. < Mongolian; cf. clas-                                                                                    tel•e•pho•tom•e•ter (tella fo tom'i tar) n                      .
  sical Mongolian telege(n) carriage]                                       tel•e•mo•tor (tel'a m<Vtar), n. a mechanical, electri-                 strument for measurin~ the amount of light e~a~n ~n­
                                                                                                                                                   from a distant object. L1925-30; TELE-' + PHOTOMt~~~f
 tel•e•gen•lc · (teJ!i jen'ik), adj. having physical quali- cal,                   or hydraulic system by which power is applied at or
                                                                              controlled from a distant point, esp. such a system ac-
   ties or characteristics that televise well; videogenic. tuating a ship's rudder. [1885-90; TELE-' + MOTOR]                                    tel•e-plasm (teJ!a plaz'"m), n. Parapsychol. a h 0
  [1935-40; TELE(VISION) + -GEN!C] -telle•gen'l•caloly,                                                                                            thetical emanation from the body of a medium ~h, -
  adv.                                                                      tel•en•ceph•a•lon (teJ!en sefla lon', -Ian), n., pl.                   serves as the means for telekinesis. ( 1925-30· TELt 1 ~t
                                                                              -Ions, -la (-la). Anal. the anterior section of the fore-            -PLASM] -telle•plas/mlc, adj.                       '       -
 tel•eg•no•sis (teVa no'sis, tellig-), n. supernatural or brain                       comprising the cerebrum and related structures.            tel•e•play (teJla pH\/), n. a play written or adapted fo
  occult knowledge; clairvoyance. [1910--15; TELE-' +                         [1900-05; TEL-' + ENCEPHALON]            -tel•en°ce•phaMc
   -GNOs1s] -tel·eg•nos•tlc (teVa nosltik, teJ!ig-), adj.                                                                                          broadcast on television. Also called v:ldeopiay vide0r
                                                                              (teJ!en sa fallik), adj.                                             drama. [1950--55; TELE(VISION) + PLAY]                  '
 Te•leg•O•nus (ta leg'a nas), n. Class. Myth. l. a son of teleo-, var. of tel&-': teleology.                                                     tel•e•port 1 (tel"a _p6rt1 , -port!), v.t. to transport (a
  Odysseus and Circe who unknowingly killed his father
  and eventually married Penelope. 2. a son of Proteus tel'e·ob•jec'tlve lem;;I (te!'e ab jek'tiv, teJI-), Pho-                                   body) by telekmes1s. [1950-55; back formation from
  and the husband of lo who was killed by Hercules in a tog. See telephoto lens. [TELE-' + OBJECTIVE]                                              teleportation, equiv. to TELE-l + (TRANS)PORTATION)
  wrestling ' match.                                                                                                                              -te!/e•pOr•tattlon, tel'e·por'tage, n.
                                                                            telfeolog'lcal artgument, Metaphys. the argu-
 te•leg•O•n:V (ta legta ne), n. a former belief that a sire ment for the existence of God based on the assumption                                tel•e•port' (teJla port', -port'), n. a regional telecom-
  can influence the characteristics of the progeny of the that order in the universe implies an orderer and cannot                                 munications network that provides access to communi-
  female parent and subsequent mates. [1890--95; TELE-' be a natural feature of the universe. Also called argu-                                    cations satellites and other long-distance media· te1e-
   + -GoNY] -tel•e•gon•lc (teJli gon'ik), adj.                                ment from design, tel'eologt lcal proof/.                            communications hub. [1980-1985; TELE-' + PORT'J
 tel•e•gram (tel'i gram'), n., v., -crammed, il;:ram• tel•e•Ol•O•g:v (teJ!e ol'a je, telJe-), n. Philos. l. the                                  tel•e•printeer (tel'a prin1 tar), n. a teletypewriter.
                                                                              doctrine   that final causes exist. 2. the study of the evi-         [1925-30; TELE(TYPE) + PRINTER)
   ming. -n. 1. a message or communication sent by tele-
  graph; a telegraphic dispatch. -v. t., v. i. 2. to telegraph. dences of design or purpose in nature. 3 . such design or                        tel·e·proc•ess•ing (te}la prosles ing, -e sing or, esp,
  [1850--55, Amer.; TELE-' + -GRAM'] -telle•gram'mlc,                        purpose.      4. the belief that purpose and design are a             Brit., -prC)lses ing, -pr0 1 sa sing), n. Computers. compu-
  tel•e•gram•ma•tlc (teJli gra mat'ik), adj.                                  part of or are apparent in nature. 5. (in vitalist philoso-          terized processing and transmission of data over the tel-
                                                                              phy) the doctrine that phenomena are guided not only by              ephone or other long-distance communications systems.
 tel•e•graph (tel'i graf!, -griif') , n. 1. an apparatus, mechanical forces but that they also mov~ toward cer-                                    Also, telecomputlng. [1960--65; TELE-' + PROCESSING]
  system, or process for transmitting messages or signals tain goals of self-realization. (1730-40; < NL teleologia.
  to a distant place, esp. by means of an electric device See TELEO-, -LOGY] -tel•e•o•log•l•cal (telle a loj'i kal,                              Tel•e•Promp Ter (te}ta promp'tar), Trademark. a
                                                                                                                                                                   0


  consisting essentially .of a sending instrument and a dis- te'le-), telle·o·logtlc, adj. -telle•o·lo11'l·cai-1y, adv.                           brand name for an off-camera device that displays a
  tant receiving instrument connected by a conducting -tel'e·ol'o•glsm, n. -telle·ol'o·glst, n.                                                    magnified script so that it is visible to the performers or
  wire or other comrnunic3tions channel. 2. Naut. an ap-                                                                                           speakers on a television program.
  paratus, usually mechanical, for transmitting and r~ceiv­ tel•e•ost (tel'e ostl, te'le-), adj. l. be!ongin\l or per-                           tel•e•ran (tell a ranl), n. (sometimes cap.) a naviga-
  ing orders between the bridge of a ship and the engine taining to the Teleostei, a group of bony fishes including                               tional aid that uses radar to map the sky above an air-
  room or some other part of the engineering department. most living species. -n. 2. Also called tel•&•O•stome                                    field, which, together with a map of the airfield itaelf, is
  3. a telegraphic message.. -v. t. 4 . to transmit or send (tel'e a stom'. te'le-). a teleost fish. Also, telle•os/te•                            transmitted by television to aircraft approaching the
  (a message) by telegraph. 5 . to send a message to (a an. [1860--65; < NL Teleostei infraclass name (designat-                                  field. [Tele(vi.sion) R(adar) A(ir) N(avigation)]
  person) by tefegraph. 6 .. Informal. to divulge or indicate ing fish with completely ossified                    skeletons), pl. of teleos-
   unwittingly (one's intention, next offensive move, etc.), teus, equiv. to Gk tele- TELE- 2 + -osteos -boned, adj.                             tel•e•SCOpe (teJ'a skopl), n., adj., v., •Scoped, -•COP•
  as to an opponent or to an audience; broadcast: The deriv. of osteon bone; see oSTEO-, -ous]                                                     inc. -n. 1. an optical instrument for making distant
   fighter telegraphed his punch and his opponent was able te•iep•a•thist (ta lepta thist), n. l . a student of or be-                            objects appear larger and therefore nearer. One. of the
  to parry it. If you act nervous too earl~ in the scene, you'll liever in telepathy. 2 . a person having telepathic power.                       two principal forms (refractln!jg: telescope) consists es-
   telegraph the chara~ter's guilt. -v.i. 1. to send a mes- [1890--95; TELEPATH(Y) + -!BT]                                                        sentially of an objective lens set into one end of a tube
  sage by telegraph. [ < F telegraphe (1792) a kind of                                                                                            and an adjustable eyepiece or combination of le~ses set
  manual signaling device; see TELE-1. -GRAPH] -te•leg• te•lep•a•thize (ta lep'a thiz'), v., -thlzed, -thlz·lng.                                  into the other end of a tube that slides into the first and
  ra•pher (ta leglra far); esp. Brit., te•legtra•phist. n.                   -v.t. l. to communicate with by telepathy. -v.i. 2. to               through which the enlarged object is viewed directly.; the
                                                                             practice or conduct telepathy. Also, esp. Brit., te•lep'a·           other form (reflecting telescope) has a conca:"'e .rrurror
 tel'egraph buloy, a buoy placed over an underwater thlsal. [1890--95; TELEPATH(Y) + -IZE]                                                        that gathers light from the object and focuses it mto an
  telegraph cable.                                                                                                                                adjustable eyepiece or combination of lenses th.rougg
                                                                           te•lep•a•thy (ta lep'a the), n. communication between                  which the reflection of the object is enlarged and v{fw.e ·
 tel•e•graph•ese (tel'i gra fez', -fes'. teJ!i gra fez', minds by some means other than sensory perception.
  -fesl), ''- a style of writing or speaking distinguished by Also called mental telepathy. [1880-85; TELE-' +                                    Cf. radio telescope, 2. (cap.) Astron. the constef. atwd
  the omissions, abbreviations, and combinations that are -PATHY] -tel•e•path•lc (te\/a path'ik), adj. -tell•,.                                   Telescopium. --adj. 3. consisting of parts that it an
  characteristic of telegrams, as in "EXPECT ARRIVE SIX path' l•caloly, adv.                                                                      slide one within another. -v. t. 4. to force together' one
  EVENING."· [1880--85; TELEGRAPH + -ESE]                                                                                                         into another, or force into something else, in the ~a~~
                                                                           teleph., telephony.                                                    of the sliding tubes of a jointed telescope. 5 . to s for
tel•e•graph•ic (te!li graf'ik), adj. l. of or pertaining
  to the telegraph. 2. concise, clipped, or elliptical in style: tel•e•phone (tel'a fonl), n., v. , -phoned, -phon·lng.
                                                                                                                                                  or condense; compress: to telescope the ev~nts 0
                                                                                                                                                   hundred years into one history lect_ure. -v.i. 6 . to f the
                                                                                                                                                                                                                    si:d!
  telegraphic speech. [1785-95; TELEGRAPH + -IC] . -tell· -n. l. an apparatus, system, or process for transmission                                together, or into something else, tn th7 manne~ ~a an-
                                                                             of sound or speech to a distant point, esp. by an electric
  e•s;raph'l•cat-ly, adv.
                                                                             device. -v.t. 2. to speak to or summon (a person) by
te•leg•ra•phone (ta leglra fonl), n. an early mag- telephone. 3 . to send (a message) by telephone. -v.i.
                                                                                                                                                  tubes of a jointed telescope. 7. to be dnven one 1 ome
                                                                                                                                                  other, as railroa"d cars in a collision. 8. to be or ecE. r
                                                                                                                                                                                                                b
  netic sound-recording device for use with wire, tape, or 4. to send a message by telephone. Also, phone. [1825-                                 shortened or condensed. [1610--20; TELE-'.+ -sy~Pl ' ·
  disks. [1885-90; < Dan telegraphon. See TELE-', GRAPH- 35; TELE- 1 + -PHONE] -tel'e•phonter. n.                                                 telescopium ( < NL; see -IUM) arid telescopw ( < ) .
  o-, -PHONE)                                                                                                                                    tel'escope eyes/, protruding orbits, as on certam
                                                                           tel'ephone an'swering machine!. See answer-
teltegraph plant!, a tick trefoil, Desmodium mo- ing machine. [ 1960--65)                                                                         goldfish. -teVe•scopel-eyed', adj.
                                                                                                                                                tel•e•sco11>-lc (teJle skop'ik), adj. 1. of, pertaini?r~i~ g
                                                                                                                                                                                                                   0
  torium, of the legume family, native to tropical Asia,
  noted for the spontaneous, jerking, signallike motions of telPephone bank/, an array of telephones used in                                      or of the nature of a telescope. 2 . capable. of magnmeans
  its leaflets. [1880--85]                                                   large-scale telephoning operations, as for a political cam-
                                                                             paign.                                                               distant objects: a telescopic lens. 3. obtamed :yseen bY
te•leg•ra•phy (ta legl ra fe), n. the art or practice of                                                                                          of a telescope: ~ telescopic view of the moon. c::: capable
  constructing or operating telegraphs. (1785-95; TELE- 1 tel'ephone book!, a book, directory, or the like, usu-                                  a te!esc~pe; v~sible only th~ough a telesc\>Pe: ;,telescopic
  + -GRAPHY]                                                                 ally  containing an alphabetical list of telephone subscri-
                                                                             bers in a city or other area, together with their ad-
                                                                                                                                                  of v1ewmg objects from a d1stance; farseemfJ· h~ another
Tel•e•gu (tel'i gOiJI), n., pl. -gus, (esp. collectively) -li!u, dresses and telephone numbers. Also called tellephone                            eye. 6. consisting of parts that slide one wit in ca able
  adj. Telugu.                                                                                                                                    like the tubes of a jointed telescope and are th~~pil.cal­
                                                                             cllrecltory, [1910--15]                                              of being extended or shortened. Also, te 1te•tl
tel•e•ld•n&•sls (teJ!i ki ne'sis, -ki-), n. psychokinesis. tel'ephone booth!, a more or less soundproof booth                                     [TELESCOPE + -IC] -telle•$COpPl·caMy, adv.                      -
  [1885-90; TELE-' + -KINESIS] -tel•e•kl•net•IC (teJ!i ki- containing a public telephone. Also called, esp. Brit.,
  netlik, -ki-), adj.                                                                                                                           Tel•El•llCO•Pi•um (tel'a sk6'pe am), n., gen. -l':~'u~tl~~
                                                                             teltephone boxl. [1895-1900, Amer.]                                  ii). Astron. the Telescope, a small southeNL]ons
Tel el A•mar•na (tel' el a milr'na). See T ..11 al tel'ephone exchange', a telecommunications facil-                                              between Ara and Corona Austrinus. [ <                  the tele-
  Amarna.                                                                    ity to which subscribers' telephones connect, that switch-
                                                                                                                                                                                                      5
                                                                                                                                                te•leS•CO•PY (ta leslka pe), n. l _ the ~s~ ?~ELE 5 coPE
Te•lem•a•chus (ta lem'a kas), n. Class. Myth. the son es calla among subscribers or to other exchanges for fur-                                   scope. 2. telescopic investigation . (186v-v '
  of Odysseus and Penelope who helped Odysseus to· kill ther routing.                                                                             + -v3 ] -te•l..s/co•plst, n.                 . .    creen, e•P·
  the suitors of Penelope.                                                 telPephone pole!, a utility pole for supporting tele-                tel•e•screen (tel' a skren'), n. a telev1s10n ~ 8 of peo-
                                                                             phone wires. [1880--65, Amer.]                                       a large one suitable for viewing by large num er
CONCISE ETYMOLOGY KEY: <' descended or borrowed from; >'
whence; b., blend of, blended; c., cognate with; cf., compare; deriv., telPephone recehtler, a device, as in a telephone,                         ple. [1940-45; TELE(VISION) + SCREEN]              r caused bY
derivative; equiv., equivalent; imit., imitative; obl., obliqt.ie; r., re-  that   converts changes in an electric current into sound.          tel•e•selsm (te!la silzam), n. Geo!. a _tremo [rorn th•
                                                                                                                                                  an earthquake originating a great d1stanc~ + sE1sM]
r;:~~~.g;t:~~=l~tk;n~p?', 5.frT~~g~:b~!~; r.~s~ii:t:s~~~~~. r;:~b~b~ tell         ephone tag/, repeated unsuccessful attempts by
                                                                            two persons to connect with one another by telephone.                 seismographic station that records it. [TELE- • in~ to
earlier than. See the fuJJ key inside the front cover.
                                                                           tel•e•phon•ic (tel'a fon'ik), adj. 1. of, pertaining to,             tel•e•shop (tel'a shop 1 ), v.i., -11hoppe<i, ·•11"" P


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